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                     U NITED STATES CO URT DISTRICT CO URT
                     FO R TH E SO UTHERN DISTRICT O F FLO RIDA


                             DO CKT No.


                             EDDY JEAN PHILIPPEAUX,            FILQ: bv
                                                                      !, ' ' rJ-C,,.

                             Plaintiff,                               DE2 13 2218                            '
                                                                     STEVEH M.LARIMCRE
                                                                      CIERKU.S.DIS7-.CT,
                                                                      ....j
                                                              .'..t=m.e   '
                                                                          ..=j
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                                                                              . .r
                                                                                 '.
                                                                                  .'j
                                                                                    rr(
                                                                                      .1'z.. ..);,
                                                                                                 (.jj.h!j
                                  V.                                           ..          ...-. ........
                                                                                                         z. .. .


                            UNITED STATES O F A M ERICA
                            DEPARTM ENT O F VETERANS AFFAIRS
                            Unnam ed Agents ofthe Departm ent of
                            Affairs in theirindividualcapacities.

                            Defendants.




                      FEDERA LTO RT CG IM S A CT CO M PG INT
                      A N D CO NSTITUTIO NA L CHA LLENGE TO
                      CO NGRESSIO NA L STATUTE:38 U.S.C.511




                        Eddy Jean Philippeaux (Prose)
                          20 1 Se 2nd Ave. #252 1
                          M iam i,Florida 33 131
                              (917)636-0840
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            COM PG INT FOR DAM AGES UNDERTHE FEDERALTORT CG IM SAW .

                                             I

   DUE PROCESS CLAUSE VIOG TIONS:(5th AM ENDM ENT U.S. CONST.), EQUAL PROTECTION
   CLAUSE VIOG TIONS (141 AM ENDM ENT U.S. CONST.) AND M EDICAL M ALPRACTICE FOR
   FAILURETO DIAGNOSEANDTREAT CAUSESOFSERVICECONNEG ED M ENTALDISORDERS(TBI):
   INELUDING DYSTHYM IC DISORDER.PSYCHOSIS AND HYPERTHYRO IDISM AS REQUIRED BY VA
   LAW S.


   TW ENTY-THREE (23)YEARS DELAY IN THE DELIVERY OFCAREAND TREAM ENT FOR CAUSES OF
   M ENTAL DISORDER DISEASES W HICH IS LINKED TO THE PROCESSING OF VETERAN'S CLAIM S
   W HO SUFFERED A TRAUM ATIC BRAIN INJURY INVOLVING INTERNAL BRAIN DAM AGE IN THE
   LINE OF DUTY W HILE O N AW IVE DUTY SERVICE AND CONTRACTED OTHER RELATED DISEASES
   AS THE RESULT THEREOF INCLUDING M ENTAL DISORDERS (PSYCHOSIS)W HILE IN SERVICE
   INCLUDING HYPERTHYRO IDISM ARETO BE DECG RED UNCONSTITUTIONALBY THIS CO URT.

   FAILURETO PROVIDETHEVETERAN W ITH ACCESSTO THEVA BENEFITS APPEAL PROCESS IN
   1997ASREQUIRED BYTHEVETERANSJUDICIALREVIEW AW OF1988 W HILEHEW A5M ENTALW
   INCAPACITATED SUFFERING FROM POST TRAUM ATIC AM NESIA (PTAI RESULT OF A
   TRAUM ATIC BRAIN INIURY HESUFFERED IN THELINEOF DUTYW HILE ON AW IVEDUTYSERVICE
   IS VIOLATION OF THE DUE PROCESS CLAUSE OF THE FIFTH AM ENDM ENT AND EQUAL
   PROTECTION CLAUSE OF THE FOURTEENTH AM ENDM ENT O FTHE U.S.CONSTITUTION.


   THIS VETERAN CHALLENGES THE CO NSTITUTIONALITY OF SEW ION 511 OF TITLE 38 AS BEING
   AN UNCONSTITUTIO NALSTATUTE BECAUSE IT HAS DEPRIVED THIS VETERAN HIS DUE PRO CESS
   RIGHTS TO PROPERTY INTERESTS PROVIDED BY THE FIFTH AM ENDM ENT OF THE UNITED
   STATES CO NSTITUTIO N.THE STATUTE IS THE DIRECT CAUSE OF THIS VETERAN'S DEM ISE AND
   M ISCHIEFS BYTHE EM PLOYEES O FTHE DEPARTM ENT OF VETERANS AFFAIRS W HEN HE FA ILED
   TO FAIRLY ADJUDICATE AND DENY THE VETERAN'S 1995 TRAUM ATIC BRAIN INIURY CLAIM S
   DENIED HIS APPEAL RIGHTS ACCORDED BY THE VETERANS JUDICIAL ACT OF 1988. RECEIVE
   ASSISTANCE REQ UESTED FRO M THE U.S.DISTRIW CO URT FO R THE SO UTHERN DISTRIW O F
   NEW YORK AND VA'S FAILURE TO AFFO RD A DISABLED VETERAN ENTITLED BENEFITS AND
   APPEALPRO CESS RIGHTS ACCORDED BY THE VETERANS IUDICIAL RECIEW ACT OF 1988 W HILE
    HE W AS SUFFERING FROM POST-TRAUM ATIC AM NESIA REQUIRED PROTEW ION FROM THE
   COURTS UNDER THE UNITFD STATES CONSTITUTIO N SPECIFICALLY THE 5R AM EM DM ENT
   CG USE. VETERAN W AS SUFFERING FROM AM NESIA. A RESIDUAL DISEASE RESULT OF THE
   BRAIN INIURY SUFFERED IN THE LINE OF DUTY W HILEO N ACTIVE DUTY IN THE M ILITARY. THE
   STATUTE DEPRIVED HIM OF HlS ENTITLED RELIEF SO UGHT FRO M THE U.S.DISTRICT CO URT OF
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   NEW YO RK IN 2010 W HEN VA EM PLOYEES SO UGHT TO COVER UP HIS 1995 BENEFITS CLAIM S
   AND PENDING APPEAL BY REPLACING A TBlM EDICAL AND COM PENSATION EXAM INATION
   REPORT DIAGNOSIS TO ONE THAT HAD A NO TBIDIAGNOSIS AND THE DEFENDANT (VA)
   CLAIM ES THAT THE CO URT HAD LACK IURISDIW IO N W HICH RESULTED IN THE DISM ISSAL OF
   THE VETERAN'S CLAIM W HICH RESULTED EFFECTIVELY OF NO RELIEF W HILE THE VA
   CO NTINUED VIO G TING THE PRO PERTY INTEREST OF THIS VETERAN FROM HIS 1995 CLAIM S
   AND PENDING APPEAL W HICH HAS RESULTED IN FURTHER AGGRAVATIO N OF HlS BRAIN
   INIURIES O R PERM ANENT BRAIN DAM AGE,AND FURTHER ECO NOM IC LOSSESTHRO UGH LOST
   OFEARNED W AGESOF$4400.00A W EEK THE LA5T TIM E HEW ORKED ASA W ALLSTREET UNIX
   SYSTEM S ADM INSTRATOR AND BY NOT RECEIVING THEREHABILITATION SERVICES REQUIRED
   UNDER 38 USC 1710C AFTER 15 YEARS O FA THEN PENDING BRAIN INIURY AND STILL PENDING
   TBICLAIM S AT THE VA REGIONAL OFFICES IN NEW YO RK CITY,LOS ANGELES.CALIFORNIA AND
   ST.PETERSBURG FLORIDA.THE DEPRIVATION CLOSED ALLDO ORSTO THEVETERAN TO REGAIN
   HIS ABILITY TO RETURN TO W ORK THROUGH REHABILITATION SERVICES W HICH HE W AS
   DEPRIVED AND TO REJO IN THE EM PLOYM ENT FORCE IN A HIGH W AGE TECHNICAL FIELD O F
   AVIO NICS AND INFORM ATIO N TECHNO LO GY. SECTIO N 511 O F TITLE 38 AS RAISED BY THE
   DEFENDANT THEN IS THE DIRECT RESULT O F THE W RONGFUL DEATH OF THE VETERAN'S
   M OTHER IN THE FAILURE TO RECEIVE THE RELIEF REQUESTED FROM THE COURT AND THE
   DEM ISE O F THE VETERAN'S CAREER W HILE THE VA REGIO NAL OFFICES HAD BEEN AND
   CO NTINUE TO VIOLATE THE VETERAN'S CONSTITUTIONAL RIGHTS. THE CONSTITUTIONAL
   VIO LATIONS HAD BEEN IN EFFECT SINCE FEBRUARY 1995W HEN VA EM PLOYEES FAILTO CARRY
   THEIR M ANDATE W HICH IS TO PRO VIDE THE CARE,5ERVlCE5 AND BENEFITS TO THIS INJURED
   VETERAN. ADDITIO NALLY,LEAVING ENTITLED M ENTALDISORDERS VETERANS.THIS VETERAN
   IN PARTICULAR DUE HIS ELECTRO NIC W ARFARE BACKGROUND IN THE U.S.AIR FO RCE IN A
   HOM ELESS STATE ROAM ING THE STREETS IS A THREAT,CLEAR AND PRESENT DANGER TO THE
   NATIO NALSECURITY OF THE UNITED STATES.

   Johnson,415U.S.at366-74,94 S.G .at1165-69,39 L.FZ.2d at397-401.

   lnJohnson,theCourtconstnledthejurisdictionalimplicationsof38U.S.C.j 211(a),theprecursortoj
   5114a). TheCourtheldthatwhilej 211(a)insulatedfrom judicialreview decisionsoftheAdministrator
   ofVeteransAffairs(now,theSecretary)intheinterpretationorapplicationofastatutegoverning
   veterans'benefks,itdid notprecludethedistrictcourtsfrom entertaining facialconstitutionalchallenges
   to actsofCongressaffectingbenelks. Johnson,415U.S.at366-74,94 S.G .at1165-69,39 L.Ed.2d at
   397-401.

   TheUnitedStatesCouztofAppealsfortheSecondCircuithassquarelyheldthatthejurisdictionofthe
   districtcourtscontinuesto extend to such constim tionalquestions. SeeDksabled Am .Veteransv.United
   StatesDep'tofVeteransAffairs,962F.2d136,140-41(2dCir.1992);LarrabeeV.Derwinski,j68F.2d
    1497,1501(2d Cir.1992). InZuspann,theFifthCircuitCourtofAppealsalsoindicated,albeltindida,
   that,despitetheVJRA.,facialconstitutionalchallengesm aybe maintained in thedistrictcourts.
   Zuspann,60 F.3d at1158-59.
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    PlaintiffEddy Jean Philippeaux hereby filesthis com plaintagainstthe defendants,United
   States ofAm erica,U.S.Departm entofVeterans Affairsand un-nam ed agentsofthe United
   States Departm ent ofVeteransAsairs statesasfollow s:


              1. This is an action brought againstthe United States ofAm erica underthe Federal
                 TortClaims Act (28 U.S.C.j 2671,et.Seq.) and 28 U.S.C. j1346(b)(1) for
                 negligence and m edical m alpractice,and the A m erican w ith D isabilities Act of
                  1990,42U.S.C.j12101etseq.asamendedandthedueprocessclauseofthe5th
                 am endment of the United States Constitution for the 23 years delay in the
                 processing oftheveteran'straumaticbrain injury(TB1)claimswhich resultedin
                 additionalpersonaland physical injmies and for the wrongfuldeath of the
                 veteran'sm otherand greateconom iclossesfrom a lifetim eem ploym entearnings
                 in a high wage technicalfield ofavionicsand intbrm ation technology field as a
                 Unix system s adm inistrator in connection with the VA's failtlre to provide the
                 appropriatemedicalcaretotreattheveteran'sbraininjtuieswhichinvolvesbrain
                 damage tothepituitary gland,spinalcord and the thyroid gland and forfailure to
                 providetherehabilitation servicesnecessary sothattheveterancouldhaveachieve
                  independenceandreintejrationtothecommunity.Theveteranisnow 66years
                 old and has lost lzis earm ng capacity and equity in his socialsecttrity pension as
                 theresultofhisinabilityto work in alligh wagetechnicalfield for23years. This
                 veteranwasentitled tmderlaws oftheUnitedStates(38U.S.C.1710C)andother
                  statutesform edicalservices,keatm entand rehabilitation servicesforthe traum atic
                  braininjuryhesufferedinthelineofduty whileservingintheUnitedStatesNavy
                  and related diseases contracted (cognitive and memory deficits issues,
                  hyperthyroidism,headaches,dizziness,fatigue,seizures,stomach pain)whilehe
                  was on active duty service in the U.S.N avy and following his discharge from
                  active duty service when he applied for disability through the U .S. Dept.of
                  VeteransAffairs.




                                      JUR ISD IC TIO N AN D VEN U E

              2. ThisactionisbroughtagainsttheUnitedStatespursuantto28U.S.C.j1346(b)(1),
                  Venueispropertmderj1402(b),and jj2671-2680etseq.tmdertheFederalTort
                  Claim sActand American with DisabilitiesActof 1990 as amended,42 U.S.C.

                  j12101et.Seq.foradditionalinjuriessufferedaftermilitaryactivedutydischarge
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                and in thehand oftheDepartmentofVeteransAffairs(VA)whiledisabled and
                incapacitated suffering from mental disorders including PTSD,post-traumatic

                amnesia(PTA)anddepressionduetoaheadinjury whichinvolvesinternalbrain
                dam agesuffered inthelineofdutywhileserving intheUnited StatesNavy -'l-hese

                claimspresentedheretothisCourtareclaimsforinjuriesandmonetary damages
                thatare beyond the service connected TBlinjuriesand forthe VA Regional
                Officestotaketwenty-three(23)yearsintheprocessingofthisveteran'straumatic
                braininjuryclaim which isstillpendingfrom February 1995renderssection 511
                of Title 38 is challenged here to be declared unconstitutionalbecause itviolates

                the veteran'srightsto property,itallowstheVA regionalofficesem ployeesto do

                asthey please and ittakesaslong asthey w antincluding tm lim ited am ountoftim e

                ifnotforeverto processa veteran'sclaim while causing death and injuriesto
                injuredveteransandtheirfamilies,thisveteraninparticular.lnthiscaseitdenied
                veteran's rights to benefits in 1995 and also denied ofhis appealrights accorded

                by theVeteransJudicialReview Actof1988.Theveteransufferedinjuriesfrom
                VA acts of negligence by its em ployees working in their individualcapacities

                taking advantage ofhis ineapacitated statusby depriving him ofthe benefits of

                Title38asitrelatestotheproperhealth care,treatmentand rehabilitativeservices

                forresidualdiseasesofhistraumaticbraininjuly under38U.S.C.1710C including
                denial of treatm ent for nerves, enlargem ent of pituitary gland,erllargem ent of

                thyroid gland,abnorm alspinalcord and hyperthyroidism ,all of w hich w ere left

                untreated for the entire period of time from 1995 when veteran reported these




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                conditionsto the Departm entofVeteransM fairsthrough the presenttim e and

                continuing asthis law suitw asfiled.

         SeeUnited Statesv.Brown,348 U.S.110 (1954),and Bivensv.Six Unknown Named
         Agents403U.S.388(1971).
                An adm inistrative claim was presented to the Ofrice ofG eneralCounselofthe

                D epartm ent ofVeterans Affairs which responded with a denialletter dated

                M ay 29th,2018 herein attached as veteran's Exhibit ahn.

             4. Filed within six (6)monthsofreceivingthe generalCotmsel'sdenialletter,all
                conditionsprecedentto a FederalTortClaim sA cthave been m et.

                ltisworthnoting Inlrwinv.Dep'tofVeteransAffairs,498 U.S.89,93-96 (1990),
                the Suprem e Courtfound thatthe 30-day lim itationsperiod inTitle VIIofthe Civil
                Rights Act of 1964 could be equitably tolled. In so doing,the Courtadopted a
                generally applicable ''presum ption''to replace its prior ad hoc determ inations
                regarding w hen a statute ofIim itationsforactions againstthe United Statesw as
                subjectto equitable tolling. lnT.L.ex rel.lngram v.United States,443 F.3d 956,
                959-61(8thCir.2006),theEighthCircuit,whichinSchmidthadreasonedthatthe
                FTCA'S statute of limitations was notjurisdidionalbecause it was subject to
                equitable tolling, decided, upon further reflection and developm ent in the
                caselaw,thatthe FTCA'S statute oflimitations could be both jurisdictionaland
                subjectto equitabletolling.




                                                 PAR TIES

                PlaintiffPhilippeauxisatalltimesa residenthereto wasaresidentofthe State of

                N ew York,StateofCalifonziaand State ofFlorida.
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                 DefendantsU nited SO tesofA m erica,through itsagency D epartm entofV eterans

                Affairsoperatesthe VeteransAffairsM edicalCenters,and Un-named Agentsof

                theDepartm entofVeteransAffairslocated in theabovem entioned states.

                DefendantsUnited StatesofAmerica including its directors,officers,operators,

                 adm inistrators,em ployees,agents,and staff atthe V A M edical Centers and V A

                Regional O ffices are herein collectively referred to VA H ealthcare M edical

                 Centers.

             8. A tal1tim es relevantto thiscom plaint,the V A M edical Centers held them selves

                 outto theplaintiffand eligiblebenetk iaries,asproviderofhigh quality health care

                services,with the expertise necessary to m aintain the health and safety ofpatients

                 like the plaintiff.

             9. A t all tim es relevant to this com plaint, the directors, officers, operators,

                adm inistrators,em ployees,agents,and staff w ere em ployed by and/or acting on

                behalfoftheDefendants.

         Furtherm ore,the Defendantisresponsible forthe negligentactsoftheir em ployees.

             10.Jurisdiction isproperunder28 U.S.C.j1346(b)(1),in thata1lorsubstantialpart
                 oftheactsand omissionsform ingthebasisoftheseclaim soccurredinthedistricts

                 ofNew York,Califom ia and Florida.



                                       STA TEM EN T O F FA C TS


                       As the result of the VA em ployees'negligence including VA

                 healthcare em ployees, the veteran health status over tim e w as



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                aggravated from a chronic m ental depression disorder (M DD) in
                 1997 to Psychosis in 2009 Because of VA's failure to provide the

                veteran with the proper diagnosis, treatm ent and rehabilitative

                 services then thathe w as entitled to underlaw s ofthe U nited States

                 (Title 38). Resulted in the deprivation ofproperty under the due
                process clause ofthe fifth am endm entofthe U .S.Constitution due

                to a traum atic brain injuzy thathe suffered in the line ofduty while
                he w as on active duty in the U .S.Navy aboard a U .S.Battleship

                 (USS M ccandless FF-1084)which left him with residualdiseases
                such severe headaches, dizziness, m em or.y and cognitive issu es

                w hich interfered with his ability to m aintain em ploym entin a high

                earning and high in dem and field of inform ation technolor as a

                w all street Certified Unix System s Adm inistrator thereby resulted

                in his inability to have supported him selfand his children,endured

                extrem e poverty and hom elessness over a long period oftim e. The

                VA failed to provide him with the proper diagnosis,treatm entand

                rehabilitative services required for reintegration into the com m unity

                w hich would prom ote self-productivity, and independence.         VA

                em ployees breached their duties to the veteran as m andated by 1aw

                 (38 U .S.C.1710C)and otherVA laws including denialofaccess to
                 the Veterans Judicial Review Act of 1988 follow ing denial of

                application for TBI disability benefits resulting in the veteran's
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                aggravation ofTBI residualrelated diseases and perm anent brain

                dam age, poverty and hom elessness. The veteran suffered great

                econom ic losses in the m illions of dollars in earnings and bonuses

                as a certified w allstreet inform ation technolor adm inistrator due

                to his m ental instability including cognitive and m em ory issues

                residualofthe head injury thathe suffered on October 12th, 1977
                which waslargely leftuntreated by them ilitary (U.S.Navy)and then
                by the D ept.ofVeterans Affairs.



                                 FA CTU AL A LLEG A TIO N S

             12 .      The veteran had enlisted in the U .S. Navy on Sept. 1972,

                during his third tour ofduty w hile he was stationed on a battleship

                hom eported in Norfolk, Virginia, he suffered a traum atic brain

                injuly on October 12th,1977.
             13.      The traum atic brain injury (TBl) resulted in internal brain
                dam age

         to the pituitary gland,thyroid gland and spinalcord.

             14.      Shortly thereafterthe injury in 1979,while stillin service the
                veteran was diagnosed with horm one disorders (hyperthyroidism )
                w hich w as leftuntreated by the m ilitary.




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              15.      Furtherm ore,w hile still on active duty service in 1979,the

                 veteran started to experience headaches, anxiety, m ood sw ings,

                 feeling nervous and blurred vision.

              16 .     As the result ofthe brain injury,the veteran was no
                 longer able to perform            his m ilitary duties and w as

                 discharged.

              17.      Tw o years folloV ng discharge from active duty, the

                 veteran fellgravely i11and w as hospitalized and placed in

                 an intensive care un it for a w eek.

              18 .     As the result of the brain injury, the veteran was
                 suffering from post-traum atic nm nesia and w as not able

                 to rem em ber the TB I event.

              19 .     F'urtherm ore, follow in g discharge from active duty

                 over tim e,the veteran w as diagnosed w ith W SD ,nnxiety,

                 depression,dizziness,fatigue,seizures,stom ach disorder,

                 pain (peptic ulcer),1ow grade fever,and balance issues.
              20.      On July 12th, 1996, The veteran underwent a VA

                 M edical Com pensation exnm ination and w as diagnosed




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                 w ith Dysthm ic D isorder w hich is a form of recurring

                 chronic depression.

          The D epartm entofVeterans Affairs had custody ofthe veteran's

          entire m edical records inclu ding his serd ce naedical records

          failed to review the veteran's m edical history including his

          m ilitary service m edical records w hich resulted in the

          m isdiagnosis of the veteran's true condition and health statu s

          which should have been traum atic brain injury.
              2 1.      At a11 tim es th e VA em ployees w ere aw are or should

                  have been aw are of the veteran's health status w hich

                  included diagnosis of brain dam age in the form                  of

                  pituitary gland enlargem ent, thyroid gland enlargem ent,

                  abnorm alspinalcord and hyperthyroidism .

              22.       Follow ing m ilitazy         discharge, the veteran w as

                  diagnosed w ith these brain dam ages by various hospitals

                  and clinical laboratories including George W ashington

                  University M edical C enter m ad the N eurolor Center of

                  W ashington,D .C .




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              23.       The D epartm ent of Veterans M fairs failed to provide

                 the veteran w ith the diagnosis and the necessary care and

                 treatm ent as it w as required by 1aw in order to m itigate

                 his brain dnm ages resultofthe brain injuries he suffered
                 in the line ofduty w hile he w as in the m ilitary.

              24.       As the result of the VA M edical Centers negligence,

                 failure to diagnose and treat related diseases of TB I, the

                 veteran's health status w as agv avated from a diagnosis

                 of depression to psych osis resu lting in severe disability

                 and unem plom ent for several years from                          yer 1995

                 throu gh 2000.

              25.      As the result of the VA M edical Centers negligence,

                 failtzre to diagnose and treat related diseases ofTB I, the

                 veteran's w as unable to m aintain steady em ploym ent

                 from 2000 through 2008.

              26.      As the result of the VA M edical Centers negligence,

                 failure to diagnose and treat related diseases of TBI, the

                 veteran w as unable to w ork from 2008 through the

                 present tim e.


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              27.      As the result of the VA M edical Centers negligence,

                 failure to diagnose and treat related diseases of TB I, the

                 veteran endured poverty and hom elessness for alm ost a

                 decade.

              28.      As the result of the VA M edical Centers negligence,

                 failure to diagnose and treat related diseases of TB I,the

                 veteran     endu red      sign ifican t m ental an d           em otion al

                 distress and traum a as the result of not receiving the

                 proper treatm entfor his brain injuries.


                             C A U SE O F A C T IO N
           C O U N T l- M E D IC A L M A L PM C T IC E N E G L IG E N C E


              29.PlaintiffPhilippeaux realleges and reincorporates each and every

                 allegation above fully setforth herein.

              30.The defendanthad a duty to provide standard care as generally

                 accepted in the m edicalfield and asrequired by 1aw 38 U .S.C.

                 j1710C consistentwith therequired medicalspecialistin thefield of
                 neurology,endocrinology,psychology,sociology.




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              31. The defendantbreached itsduty ofcare to M r.Philippeaux in the

                 failing to exercise reasonable care by review ing the veteran's m edical

                 history w hose records w ere in its custody.

              32. The defendantbreached its duty by failing to have in place the

                 properproceduresw hich w ould ensure a com prehensive analysis of

                 the veteran's health status including the review ofthe veteran's entire

                 m edicalhistory.

              33.The defendants'actions w ere the cause and resultofthe plaintiff s

                 injury which involvesdeterioration ofmentalhealth statuswhich
                 resulted in his inability to earn a living through the m aintenance of

                 steady em ploym ent,resulted in extrem e poverty,hom elessness and

                 inability to provide forhis m otherand children.

              34. A tal1tim es relevantto thiscom plaint,the defendanthad a duty to

                 hire,com petentoperators,adm inistrators,em ployees,agents,staffin

                 order to m eetits standard ofcare forM r.Philippeaux. The

                 defendants knew or should have known thatitshould have review ed

                 theplaintiff'sm edicalhistory and m edicalrecordswhich was

                 necessary to provide the appropriate levelofcare to M r.Philippeaux
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                 thatm eta11applicable legalrequirem ents setforth by statutes of

                 congressincluding by specificstatute38U.S.C.j17l0C.
              35.TheDefendantfailed to providethe plaintiffwith thenecessary

                 treatm entand rehabilitative services thatw as required in orderfor

                 him to m aintain em ploym entand achieve independency.

              36.A s the resultofthe defendants'actions,the plaintiffw astm able to

                 financially care forhis m otheras he w as required by 1aw since he had

                 broughtherinto the country forhis children as he w as required by

                 law sunder child supportlaw s

              37.The defendants actions resulted in m onetary dam agesto the plaintiff

                 in the m illions ofdollars through loss ofw ages in a high w age tleld

                 ofinformation technology in the wallstreetfnancialindustry.

              38.A sthe resultofthe defendants'actions,the plaintiffw asunable to

                 eal'
                    n a living,he struggled to m aintain em ploym entonly for a few

                 m onthsatonetime,firedfrom job tojob becauseofhis
                 incapacitation through cognitive and m em ory issues

              39.Asa directand proxim ate resultofthe defendants'negligence,M r.

                 Philippeaux suffered serious and perm anentpersonaland physical

                 injuriesinandabouthisbody;hewasforcedtosufferpain,suffering
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                                    Am endm entV
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                 and m entalanguish in the pastand willcontinue in the future,lossof

                 enjoymentoflifein thepastand in thefuture,lossofwagesof
                 approximately $4400.00 perweek in thepastand m orein the future

                 notincluding bonuses.

              40. The acts and/or om issions setforth above w ould constitute a claim

                 underthe lawsofthe State ofN ew Y ork,California and the State of

                 Florida.

              41. Thedefendantsareliableunder28 U.S.C.jl346(b)(1).

                              C A U SE O F A C TIO N
                    C O U NT 11- W R O N G FUL P EA TH

              42.PlaintiffPhilippeaux realleges and reincorporates,each and every

                 allegation above as iffully setforth herein.

              43.Ata1ltim esrelevantto thiscase,the directors,oftscers,operators,

                 adm inistrators,em ployees,agents,staff w ere em ployed by and/or

                 acting on behalfofthe D efendants.

              44.A sthe resultofthe D efendant'sactions in the w rongfuldenialofthe

                 veteran'sbenefitsrightsand accessto the appealprocessprovided by

                 U.S.Congresstmdertheveteran'sjudicialreview actof1988 ,the
                 veteran who wasliving with hism other wasevicted from their


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                                     Am endm entV
          tsnorbe deprived oflife,liberty,orproperty,w ithoutdue processoflaw ''


                 dw elling,the veteran becam e hom eless and his m other w as

                 involuntarily sentto a nursing hom e in H em pstead,N ew Y ork where

                  she suffered a w rongfuldeath.

              45.lfitw as notforthe D efendant's action in the w rongfuldeprivation

                 ofthe veteran'sproperty interest,the veteran's m otherw ould m ore

                 likely be stillalive.


                                   C A U SE O F A C T IO N
                               C O U N T Ill - D U E PR O C E SS


              46.PlaintiffPhilippeaux realleges and reincop orates,each and every

                  allegation above as if fully setforth herein.

              47.The defendants on February 7th, 1997 denied the veterans accessto

                  the VeteransBenefitsActetseq.by itsfailure to review hisservice

                  m edicalrecordsand post-service m edicalrecordsin denying him his

                  rightsto entitled benefitsthereby denying him rightto property under

                  the dueprocessand equalprotection clause ofthe fifth am endm entof

                  the U .S.C onstitution.

              48@ The defendants on July 30th; 1997 denied the veterans accessto the

                  V eterans Benetks A ctetseq.by denying him rightsto appealhis

                  denialofbenefits through denialaccess to the rights provided by the


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                                     Am endm entV
          çtnorbe deprived oflife,liberty,orproperty,w ithoutdue processoflaw ''


                  V eterans JudicialReview A ctof 1988 thereby denying him rightto

                  property underthe due process and equalprotection clause ofthe

                  fifth am endm entofthe U .S.Constitution.

              49.The D efendantin July 1997 uneven handed application ofthe 1aw

                  which wrongfully denied plaintiffboth itsrightfulm andatory benefts

                  andappealprocessrightsundertheVJRA subjectedtheveteranto
                  arbitrary exercise ofgovenzm entpow er which resulted in the dem ise

                  ofthe veteran for an entire lifetim e ofgood health,potentialsuccess

                  and the w rongfuldeath ofhism other.

              50.A sthe resultofthe D efendant's flaw ed procedure,the plaintiffw hile

                  m entally incapacitated w as erroneously deprived ofhis property

                  interestwhich wasm andated by law asnon-discretionary.

                  W ith regard to the requirem ents ofthe due processclause ofthe Constitution,
                  the pertinentinquiry iswhetherthe totalityofthesituation providesclaimants
                  w ith ''adequate notice ofjudicialdisposition oftheirclaim and an adequate
                  opportunity to challenge an adverse ruling.''E.Paralyzed Veterans Assoc.,Inc.v.
                  Principi,257F.3d1352,1358-59(Fed.Cir.2001)9seealsoCleveland Bd.ofEduc.
                  v.Loudermill,470U.S.532,542-46(1984)(''Theessentialrequirementsofdue
                  process...arenoticeandanopportunitytorespond.l').

           The Cushman holding- thata veteran raising a sefvice connection claim hasa due process rightto
           fairadjudicationoftheclaim forbenefits- broadensthe required proceduresnecessarytocompl
                                                                                                 y
           with the Due ProcessClause on accountofthe ''non-discretionaw,statutoril
                                                                                  y mandated''nature of
           thosebenefits.Cushmanv.Shinseki,576F.3d1290 (2009)




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                          CA U SE O F A CTIO N
                    C O U NT IV - EO UA L PR O TEC TIO N
              51.PlaintiffPhilippeaux realleges and reincorporates,each and every

                 allegation above as if fully setforth herein.

              52.The veteran wasdenied equalprotection ofthe lawsbecause ofhis

                 mentaldisabilities(post-traumaticAmnesia).
              53.The veteran forgotthathe had appealed his denialofm edicaland

                 othercom pensation for his disabilities for 13 years.

              54.A sthe resultofhis inability to recallpastevents,the defendants

                 m oved to discard hisappealand failed to take the appropriate

                 adm inistrative proceduralactions to resolve hisappealfiled under the

                 veteransjudicialreview actandcompletely abandonedhisappeal.
              55.The defendants'action resulted in the plaintiffnotreceiving

                 treatm entforhism entalhealth condition for 13 years which

                 deteriorated from a diagnosisofdepression to adiagnosisof

                 psychosisresult ofpenuanentbrain dam age and inability to function

                 independently and m aintain em ploym ent.




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              56.The veteran had notbeen able to w ork ata11since 2008 due to his

                  feeling ofdizziness,nervousness,fatigue,headaches,stom ach pain

                  and otherailm ents.

              57.A dditionally,the veteran w as suffering a leftgroin inguinalhem ia

                  which had itsonsetin active duty serviceresultoflifting too m uch

                  weightfrom hisjob asastorekeeperin theU.S.Navy which
                  deteriorated to a bilateralinguinalhernia which required surgical

                  procedure on both sides ofhis groin as w ellas an additionalsurgical

                  procedure forthe recurrence ofthe leftgroin hernia.


                         C A U SE O F A C T IO N
    C O U N T V - A M E R IC A N W IT H T H E D ISA B IL IT IE S A C T


              58.PlaintiffPhilippeaux reallegesand reincom orates,each and every

                  allegation above as iffully setforth herein.

              59.The veteran wasdisabled w ithin the m eaning ofthe Am erican with

                  D isabilities A ctin thatthe veteran had a physicaland m ental

                  impairmentthatsubstantially limitsmajorlifeactivity such aspost-
                  traum atic am nesia ormem ory issues,theveteran wasdiagnosed with

                  anxiety,mood swingsand anervouscondition (depression)whileon
                  active duty.


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              60. ln 1995 The veteran wasentitled underlawsoftheUnited States

                 (Title38)section 1710C andotherstatutestoreceivethemedical
                 rehabilitation servicesforhistraumaticbraininjury which involves
                 intem albrain dam age to the pituitary gland,spinalcord and thyroid

                 gland.Brain injuriessuffered in thelineofduty.


              61.Thedefendantssubjected theveteran todiscriminationbecauseof
                 hisdisabilitiesby depriving him ofhis legalrightsto property

                 interestprotected underthe law s ofthe U nited Statesby wrongfully

                 denying his claim s for rehabilitation services and hisappealrightsto

                 the denialofthose claim sknow ing the factthathe w asm entally

                 incapacitated and the U .S.C onstitution.


              62.TheVA RegionalO fficesofN ew Y ork,Califom iaand Florida

                 collectively covered-up the veteran'spending appealfrom 1995

                 tlarough 2016 untilthe veteran w as able to dem onstrate thathis 1995

                 application orclaim s for disability w as stillpending.

              63. The veteran suffered discrim ination because ofhisphysical,

                 psychological,cognitive and m em ory disabilities.The Dept.of

                 VeteransA ffairsm oved to take advantage ofthe veteran'sm ental


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                  incapacitation and disabilities by failing to acton his appealrights

                  accorded by theVeteransJudicialReview Actof1988 while he was

                  enduring pain and suffering hom elessly in the cold winterofN ew

                  Y ork City foryears. These actions or inactions by the V A Regional

                  O ffices over 16 years orlonger deprived the veteran from the m ental

                  capacity required to find and m aintain em ploym entin a high paying

                  fieldofwallstreetinformation technology (Certified Unix Systems

                  Administrator).
              64.The veteran succeeded in obtaining em ploym entw ith m any top

                  entitiesbutwasnotable to keep them because ofhism ental

                  instability,cognitive and m em ory disabilities interfered w ith his

                  abilitytoperform hisjob,sohewasbeing laidofffrom job tojob.
              65.Theseare the entitiesthatthe veteran worked forasUnix System s

                  Adm inistratorandwasnotsuccessfulorlmabletoholdthejob dueto
                  hism entalinstability while the VA RegionalOffceswasfailing to

                  acton his appealforrehabilitation services forhis traum atic brain

                  injury sufferedinthelineofduty intheU.S.Navy:M organ Stanley,
                  Bank ofNew York,City ofN ew York departm entoflnform ation

                  Technologyandtelecommunication (DOITT),UnitedNations


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                 FederalCreditU nion,U nisys/Transportation Security A dm inistration

                 D eptofH om eland Security,D epository Trustand Clearing Com pany

                 (DTCC),American LawyerM edia,M iamiDadeCountyDept.of
                 Inform ation Technology,A SINew York,Globix,Intem ational

                 Paper,ITG,United StatesDept.ofComm erce,E-system s,Executive

                 R esourcesand A ssociates,Balzk ofA m erica.

              66. The veteran w asprotected underthe A m erican w ith disabilitiesA ct.

              67. A s the resultofhis disabilities,the veteran w as deprived ofhis legal

                 rights to property interestand equalprotection ofthe law s.

              68.Astheresultofthedeprivation,the veteran suffered additional

                 injuriestohismentaland physicalhealthwhich includeaggravation
                 ofa diagnosis ofdepression to a diagnosisofpsychosis,extrem e

                 poverty and hom eless for alm osta decade.

              69.Asthe resultofthe deprivation oftheproperhealth caretreatm ent,

                 the veteran w as unable to m aintain steady em ploym ent.

              70.A sthe resultofthe deprivation,theveteran'sm otherwassentand

                 suffered a w rongfuldeath in a nursing hom e.

              71.A stheresultofthedeprivation,the veteran'schildren suffered

                 extrem epoverty and deprived ofa greateducation.



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          ûtnorbedeprived oflife,liberty,orproperty,withoutdueprocessoflaw ''




    CO UNT VI CA RIO US LIABILITY.RESPO NDEAT SUPERIOR
    OBSTEN SIBLE AG ENCY AND/O R AG ENCY

              72.PlaintiffPhilippeaux realleges and reincop orates,each and every

                 allegation above as iffully setforth herein.



              73.A ta11tim es relevantto this case,the directors,officers,

                 adm inistrators,employees,agents,staffwere em ployed by and/or

                 acting on behalfofthe Defendant.


              74.Atalltim esrelevantto thiscom plaint,the directors,ofticers,

                 adm inistrators,em ployees,agents,staffacted within theirrespective

                 capacities and scope ofem ploym entforthe D efendant.


              75.The directors,officers,adm inistrators,em ployees,agents,staff

                 negligently and/orrecklessly directly orproxim ately caused the

                 veteran'spersonalhealth injuriesand alifetimeofeconomiclosses
                 through both actsofom ission and actsofcom m ission.


              76.. As the directresultand proxim ateresultofthe Defendant's

                 negligence. M r.Philippeaux,the veteran sustained seriousand



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          çinorbedeprived oflife,liberty,orproperty,withoutdueprocessoflaw ''


                 perm anentpersonalinjuries,mental,physicalandeconomic.Hehas
                 suffered dnm agesto his sociallife w hich include bad relationships

                 w ith his children,he w as forced to endure pain,suffering and m ental

                 anguish,hehassuffered alossofenjoymentoflifeandwillcontinue
                 to sufferalossofenjoym entoflifein thefuture,hehaslosthigh
                 w ages through his inability to w ork in a high dem and technicaltield

                 (wallstreetinformation technology)andwillcontinueto losewages
                 in the future.


              77.The actsand/orom issions setforth above would constitutea claim

                 underthe lawsand the Constitution ofthe State ofNew York,State

                 ofCalifornia and the State ofFlorida.


              78.TheDefendantsareliablepursuantto28U.S.C.51346(b)(1).

              79.TheDefendantsareliablepursuantto42 U.S.C.j12101.

              80.TheD efendantsare liable underthe dueprocessand the equal

                 protection clause ofthe Fifth Am endm entofthe U .S.Constitution.




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                                      Am endm entV
          ktnorbe deprived of life,liberty,or property,w ithoutdue processoflaw ''


                                   FIR ST C L A IM FO R R E L IEF
                                   (M EDICAL M ALPR ACTICE)
    PlaintiffPhilippeaux reallegesand reincop orates,each and every allegation above
    asiffully setforth herein.


              8l.plaintiffrepeats and realleges paragraph 1 through 25 as it sets forth
                 in fu11

              82.The D epartm entofV eteransA ffairs violates the EqualProtection

                  Clause ofthe Fourteenth A m endm entto the U nited States

                  C onstitution.

              83.The em ployees ofthe D epartm entofV eteransA ffairsbreached its

                  duty to provide equaltreatm entto this veteran w hen itdenied him the

                  appealrights afforded by the V eterans JudicialA ctof 1988 w hile he

                  wasincapacitated and suffering from Post-TraumaticAmnesia(PTA)

                  amemoryresidualdiseaseoftraumaticbrain injury.


                            SE C O N D C L A IM FO R R E L IE F
                                   O UE PROCESS)
    PlaintiffPhilippeaux realleges and reincom orates,each and every allegation above
    asiffully setforth herein.




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          ûtnorbedeprived oflife,liberty,orproperty,withoutdueprocessoflaw ''


                            TH IRD CLAIM FO R RELIEF
                                 (EQUAL PRO TECTIO N)
    PlaintiffPhilippeaux reallegesand reincop orates,each and every allegation above
    asiffully setforth herein.


                              PR A Y ER FO R R EL IE F

    W HEREFO RE, The veteran respectfully requests that this Court aw ard

    com pensatozy and punitive dam ages for negligent m edical m alpractice, due

    process violations,equalprotection violations and other acts oftorts as follow :

      1) Lostwages for pastand future,pain and suffering,m entaland em otional
         distress, past and future im pairm ent,loss of enjoym ent of life totaling
         $6,500,000.00
      2) Denialofthe veteran's appealrights under the Veterans Judicial Review
         Actof 1988.

      3) Denialofthe veteran's rights underthe Am erican with disabilities Act.
      4) Denialofthe veteran's due process rights under the Fifth Am endm ent of
         the U .S.Constitution.

      5) Denial of the veteran's equal protection clause under the Fourteenth
         Am endm entofthe U .S.Constitution.

      6) Costs and Attorney's fees incurred in this civilaction together with such
         further and additionalreliefat 1aw or in equity that this Court m ay deem

         Proper.



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        Respectfully subm itted,




             '
             ,

                                                       D ec 13th,2018
         Jea Philippeaux
    201 SE 2nd Ave
    Ajt.#2521
    M lam i,Florida 33131




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